Case 3:24-cv-00002-AGS-AHG Document 4 Filed 01/10/24 PagelD.185 Page 1of1

ROBERT EMERT FE I LE D

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ESCONDIDO, CA 92029 JAN 10 2024

760-612-9328 CLERK. U.S. DISTRICT COURT
SOUTJBRN DISTRICT OF CALIFORNIA

robemert@msn.com LE a DEPUTY

FEDERAL DISTRICT COURT OF SOUTHERN

CALIFORNIA
'24CV0002 AGS AHG
ROB EMERT This is just a statement regarding a clerical
. error on the application to proceed in the
Plaintiff Federal District Court of Southern

California without prepaying fees. The
form was initially submitted on 01/02/24
and is being resubmitted today 10/10/24
with the clerical error with reference to a
16 old removed. I am Robert Emert, the
plaintiff of the lawsuit and the person on
the corrected and following application. |
am 54 years old.

vs.
Andrea Schuck, Jose Badillo, Deputy
District Attorney Dawn Balerio

Defendants

